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 1    Call Date: 2018-06-15

 2    Call Duration: 16:18

 3    Call Begin: 11:42:22

 4    Participants

 5          RICK SINGER

 6          SCOTT TREIBLY

 7          GORDON CAPLAN

 8    File Name:      9163848802 2018-06-15 11:42:22 00782-001.wav

 9

 10

 11   SINGER:      Put your dad on the line.

 12   TREIBLY:     Give em your shit, dude. Give em the razzle

 13                dazzle, Rick.

 14   SINGER:      No problem.

 15   TREIBLY:     Alright, here we go. Gordon_Gordon, he's

 16                coming, 2 seconds_ Gordon?

 17   CAPLAN:      Yeah.

 18   TREIBLY:     Meet, Rick Singer, the Godfather.

 19   SINGER:      Is this Gordon Gecko of Wall Street?

 20   CAPLAN:      No, it's it's Gordon CAPLAN, how are you?

 21   SINGER:      I'm only kidding with you Gordon, how are you

 22                doing?

 23   CAPLAN:      Yeah -I'm good. Uh - so, you just uh - my wife

 24                has told me a little bit about what you guys do.

                                      1
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 1              Could you just, give me a little bit of

 2              background?

 3    SINGER:   Uh, background of who we are or background on

 4              what we can do?

 5    CAPLAN:   Uh both, please.

 6    SINGER:   Ok, so, who we are. We are a 290 million dollar

 7              company that I own of 1,000 employees across the

 8              US and 280 internationally. And what we do is we

 9              help the wealthiest families in the U.S. get

 10             their kids into school. So we have the Gates',

 11             the Jobs', we have every NBA owner, every NFL

 12             owner, we got everybody. So what we do is we

 13             create a concierge service for all of our

 14             families to help them get into school. Every

 15              year there are- is a group of families,

 16             especially where I am right now in the Bay

 17             Area, Palo Alto, I just flew in. That they want

 18             guarantees, they want this thing done. They

 19             don't want to be messing around with this thing.

 20             And so they want in at certain schools. So I did

 21             761 what I would call, side doors. There is a

 22             front door which means you get in on your own.

 23             The back door is through institutional

 24             advancement, which is ten times as much money.

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 1              And I've created this side door in. Because the

 2              back door, when you go through institutional

 3              advancement, as you know, everybody's got a

 4              friend of a friend, who knows somebody who knows

 5              somebody but there's no guarantee, they're just

 6              gonna give you a second look. My families want a

 7              guarantee. So, if you said to me 'here's our

 8              grades, here's our scores, here's our ability,

 9              and we want to go to X school' and you give me

 10             one or two schools, and then I'll go after those

 11             schools and try to get a guarantee done. So

 12              that, by the time, the summer of her senior

 13              year, before her senior year, hopefully we can

 14              have this thing done, so that in the fall,

 15              before December 15th, you already knows she's

 16             in. Done. And you make a financial commitment.

 17             It depends on what school you want, may

 18             determine how much that actually is. Um - but

 19             that's kind of how the the side and backdoor

 20              work. So like give me, give me an example of a

 21             school that you think that you want your

 22             daughter at?

 23   CAPLAN:   Ok so I - uh - I went to Cornell. Uh, I've

 24             already given about three quarters of a million

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 1               dollars there.

 2    SINGER:    OK.

 3    CAPLAN:    Um - she's about 150th or 170th top college

 4               recruit for - for tennis. And she- she - uh - is

 5               not a terrific student. Her grades, uh,

 6               particularly in -

 7    SINGER:    I know she's got a D and C. I already know that.

 8               And she's gotta fix them.

 9    CAPLAN:    Uh, and she's been testing very badly. Um. She

 10              does well in English and she does ah reasonably

 11              well in math.

 12   SINGER:    Ok, so- so Gordon, let's let's be frank. Right?

 13              First of all, your 750 is diddly dink in the

 14              world. Like I have the Pritzker

 15              family, they've given 50 million to Cornell.

 16              tight? And I have all the Pritzkers). They they

 17              they only get one guarantee a year, and they ask

 18              for 5 or 6 a year. Okay? So here's the first

 19              thing we need to do. And I think I mentioned

 20              this to your wife. We need to get your daughter

 21              tested for a learning difference. Here's why. If

 22              she gets tested for a learning difference, and

 23              let's say it's my person that does it or whoever

 24              you want to do it, I need that person to get her

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 1              100% extended time over multiple days. So what

 2              that means is we'll have to show that there's

 3              some discrepancies in her learning, which

 4              there's gotta be anyways. And if she gets 100%,

 5               Gordon, then, I own two two schools. I can have

 6               her test at one of my schools, and I can

 7               guarantee her a score. If it's ACT I can

 8               guarantee her a score in the in the 30s. And if

 9               it's the SAT I can guarantee her a score in the

 10              1400s. Now, all of a sudden, her test score

 11              does not become an issue with all the colleges.

 12              Because she's strong enough. Then if we clean

 13              up her transcript, then her ability with her

 14              athletic ability, and her testing and her

 15              getting better at school, it's much easier to

 16              get her into school because you're not fighting

 17              huge obstacles at the types of schools you're

 18              talking about. Now, if we do that, there's a

 19             financial consideration that you have to pay to

 20              the school to get it done, because this is

 21              absolutely unheard of, to make this happen. I

 22              can make scores happen, and nobody on the

 23              planet can get scores to happen. She won't even

 24              know that it happened. It will happen as though

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 1               she will think that she's really super smart,

 2               and she got lucky on a test, and you got a

 3               score now. There's lots of ways to do this. I

 4               can do, I can do anything and everything, if you

 5               guys are amenable to doing it.

 6    CAPLAN:    Ok, so let me let me understand the two

 7               components of that. What is the, what is the -

 8               um - the number?

 9    SINGER:    So the number - the number -

 10 CAPLAN:      (0V) At Cornell for instance.

 11 SINGER:      Well, hold on a second. The number on the

 12              testing is 75,000. Okay? It's 75,000 to get any

 13              test scores you would like to get on the SAT or

 14              ACT.   Ok, that's-

 15 CAPLAN:      Explain to me how that works.

 16 SINGER:      I just explained it to you. You get extended

 17              time, you gotta get the extended time first,

 18              then you're going to fly to LA. And you're going

 19              to be going on a fake recruiting visit. You'll

 20              visit some schools, while you're out here in LA.

 21             And then on a Saturday, which is the national

 22             test day if its ACT or SAT, she's going to sit

 23              down and take the test. I will have a proctor in

 24             the room, that's why when you have 100% extended

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 1               time, you have- you get to take it at a- you

 2               don't take it with everybody else, you get to

 3               take it over multiple days. And you get to take

 4               it at a- you can take it at your school or

 5               another school. Okay? And then this kid, cause

 6               she's taking online classes, you have to go

 V               somewhere anyway. So you come to my school, take

 8               the test on a Saturday. She'll be in the room

 9               for 6, 6 and a half hours taking this test. My

 10              proctor would then um answer her questions, and

 11              by the end of the day, she would leave, and my

 12              proctor would make sure she would get a score

 13              that would be equivalent to the number that we

 14              need to get.

 15 CAPLAN:      Ok.

 16 SINGER:      That's how simple it is. She doesn't know.

 17              Nobody knows what happens. It happened, she

 18              feels great about herself. She got a test a

 19              score and now you're actually capable for help

 20              getting into a school. Because the test score's

 21              no longer an issue. Does that make sense?

 22 CAPLAN:      That does. Now, what is the - um - what is the

 23              number I have to give?

 24 SINGER:      Now at Cornell? It'll depend. It'll be between

                                   7




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 1              250, 250 and 5. Probably 250-350 to four,

 2              um, we did 4 of em last year at Cornell and they

 3              were over 5. But because she's a pretty good

 4              athlete, I think I can do it for less. But I

 5              would need to talk to them, and I need her

 6              transcripts to be cleaned up, and then it would

 7              be done. If you wanted to go somewhere else - I,

 8              I have to be frank with you - I don't know if

 9              Cornell Cornell is the right place for her?

 10 CAPLAN:     It might not be.

 11 SINGER:     I'll tell you why. Because, it is a grade

 12             deflation school. And, I don't know if it would

 13             be the best place for her. It's not a grade

 14             inflation school, it's a grade deflation school.

 15             Do you know what I mean by that?

 16 CAPLAN:     I, I do I went there, so yes. No, I know.

 17 SINGER:     Ok, so you worked your ass off and you're super

 18             smart and you went Harvard or Stanford, and they

 19             have 70 - so look at the difference, Harvard and

 20             Stanford have 71% of their kids have an A, A-

 21             average. And at Cornell, its 26%. Same kids.

 22 TREIBLY:    Rick, where is a good school for her?

 23 SINGER:     I don't know the girl yet. So I need to know if

 24             I can talk to her and see how she's,what she's

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 1               looking for socially. Because the social part of

 2               school and the team part of school is really

 3               important. So, I want her to feel comfortable

 4               and feel good. Right? At, at least for my

 5               perspective, she's       my daughter, that's what I

 6               want.

 7    TREIBLY:   Gordon, Amy, where do you see her besides

 8               Cornell?

 9    CAPLAN:    Well I don't necessarily see her at Cornell,

 10              it's just the school I know. Urn... I'd like,

 11              look, she is, a a as Scott knows, a reasonably

 12              good tennis player ah she's not top 100. She

 13              may get close to that. Uh, she's a very social

 14              kid. Uh - and she is not that motivated

 15              academically, which we're trying to change, but

 16              we've been trying to change that for years.

 17              Uh - so I'd like her in a good academic

 18              environment surrounded by ah smart people that

 19              she could ah benefit from. Ah I don't want her

 20              at a party school, I think she would like to be

 21              at a party school. But I don't want her at a

 22              party school, because I think that will induce

 23              in her - um - adverse consequences for her.

 24   SINGER:    So - let me - can I just throw out a bunch of

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 1              names of schools that are - um - really good

 2              schools but also they have, they're well

 3              rounded sports programs, she'll

 4              be busy, good kids, smart kids, hard to get into

 5              kind of deal? I'm just gonna, I'm just gonna throw

 6              out names of schools.

 7    CAPLAN:   OK.

 8    SINGER:   So we'll start at, we'll start with Duke, UVA,

 9              Penn, Notre Dame, Northwestern, USC, Santa

 10             Barbara, UCLA, Rice, UT, places like that. Again,

 11             hoping that she's getting better as a player and

 12             a year from now she'll be a better player than

 13             she is today? Right?

 14 CAPLAN:     Yup.

 15 SINGER:     Um but those are all really good academic places

 16             and she's not getting into any of them - on her

 17             own.

 18 CAPLAN:     Nope.

 19 SINGER:     I mean, tell me if I'm in the right realm. I

 20             don't even know if I'm talking your language, I

 21             don't know.

 22 CAPLAN:     No, you are. You're in the...those are the types

 23             of types of schools. Now, the issues with Duke,

 24             UVA, Notre Dame, UCLA, ah University of Texas

                                  10




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 1               are that they are very tough D1 tennis schools.

                 Uh - and - she's not likely going to be good

 3               enough to play at a high level at those schools.

 4               She'll be good enough to play, so those that

 5               are in the top 30, of Division 1 schools,

 6               she'll probably be able to play in the next 30

 7               of Division 1 schools.

 8    SINGER:    But - but -

 9    TREIBLY:   Rick...

 10   SINGER:    Yes sir, but that's a freshman, what about when

 11              she gets a little bit older?

 12   TREIBLY:   Rick, you know, um, those like Penn maybe. Uhh

 13              UC Santa Barbara, Rice, uh would be the maybes

 14              from a tennis standpoint. The rest of em are

 15              gonna be - uhh - tough sledding.

 16   SINGER:    Even, Notre Dame?

 17   TREIBLY:   Notre Dame is gonna hire a really good coach

 18              and they're gonna do way better coming up here

 19              soon.

 20   SINGER:    Ok.

 21   TREIBLY:   Ummm. Rick, real quick, and then, you know,

 22              like, I don't want Gordon to throw tomatoes at

 23              me. But, what what about like the Richmonds,

 24              Georgetowns, Tulanes, SMU's of world. I know

                                   11



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 1               SMU and Tulane are a little social and party.

 2               But what about some of those tiers.

 3    SINGER:    Done deal. We can get that done easy.

 4    TREIBLY:   But what do you think? Does that fit Gordon's

 5               criteria being around intelligent, smart, you

 6               know, motivated people?

 7    SINGER:    (0V) It does. It's the next level down.

 8    TREIBLY:   And - and - and - like - here's the deal,

 9               Rick like I don't know, Gordon said to me,

 10              like, last week, he goes, look...get into

 11              Cornell it's easy to to do well. But you gotta

 12              get in. And so.        But I'm also like get in and

 13              want you to do well. You know what I'm saying,

 14              like, and obviously we do want her to have

 15              somewhat of a - we know that tennis is is not

 16              gonna be the next you know Serena Williams, but

 17              it's a nice, it's a nice medium for her you

 18              know. And she's worked hard.

 19   SINGER:    I get ya. I get ya. I get ya. I get ya. It's

 20              just, those schools are, from an academic

 21              perspective they're all, and she wouldn't get

 22              in on her own, but they would still be good

 23              enough academically. She would be able to get

 24              many more A's than B's at those schools.

                                   12




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 1              Whereas the group I just gave you, she would be

 2              getting many more B's than A's. It's just a

 3              matter of, here's here's the way I look at

 4              things, I look at young people today and I agree

 5              with with Gordon. If they're around really smart

 6              people, they're going to excel, and they're going

 7              to step up to the plate with the rest of the

 8              group. And they end up, it's okay to be a B A

 9              student instead of an A B student at the end of

 10             the day. But you want to be around smart people.

 11             I just need to know where you want to be in the

 12             country and then we can make it happen. This is

 13             this is not hard stuff to do, if I can get a

 14             score and clean up her transcript, this could be

 15             a done deal.

 16 CAPLAN:     Ok. So, let's let's go back to the score -

 17 SINGER:     But - but -

 18 CAPLAN:     Go ahead - sorry -

 19 SINGER:     Here's the problem. I'm here I just flew in

 20             town, and I need to make a sale on a facility.

 21             I'm buying a a ten-million-dollar facility right

 22             now. And these guys are waiting on me. So

 23             um - can I call can we figure out a way to talk

 24             later, when I maybe when I'm on my way back to

                                  13



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 1              the airport again?

 2    CAPLAN:   Sure. You want to just give me a call directly?

 3              I can ah-

 4    SINGER:   Sure, could you guys just send me all your info.

 5              That would great.

 6    CAPLAN:   Sure. Scott will send you my direct ah

 7              information.

 8    SINGER:   Great. And I apologize, I didn't expect to have

 9              the call.

 10 CAPLAN:     No no no. Rick look I really do appreciate

 11             this. I come off as a little - ah um - direct.

 12 SINGER:     No, you can be direct because this is about [UI]

 13 CAPLAN:     I'm just trying to get to the bottom of it

 14             quickly. Look, if there's a way to get her, what

 15             we need to get her on testing. She is not a good

 16             test taker, and its 75,000 dollars, and you're

 17             telling me you can that done. Consider that a

 18             done deal with us.

 19 SINGER:     I agree, totally agree. Alright, I gotta run.

 20 TREIBLY:    Rick, I'll send you Gordon's cell.

 21 SINGER:     Ok thanks.

 22 TREIBLY:    Bye.

 23 SINGER:     All right, Bye-bye.

 24 CAPLAN:     Thanks.

                                    14




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